Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 1 of 28 Pageid#: 7652




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

  DAMIAN STINNIE, et al.,                         )
      Plaintiffs,                                 )       Civil Action No. 3:16-cv-00044
                                                  )
  v.                                              )       REPORT & RECOMMENDATION
                                                  )
  RICHARD D. HOLCOMB, in his official             )
  capacity as the Commissioner of the             )        By:    Joel C. Hoppe
  VIRGINIA DEPARTMENT OF MOTOR                    )               United States Magistrate Judge
  VEHICLES,                                       )
         Defendant.                               )

          This matter is before the Court for a Report and Recommendation on Plaintiffs’ Petition

  for Attorneys’ Fees and Litigation Expenses. ECF No. 234; see ECF No. 236. The petition has

  been fully briefed and argued, see ECF Nos. 235, 237, 238, 242, and is ripe for review. This case

  was dismissed as moot in May 2020, but the Court retained jurisdiction to decide the issue of

  attorneys’ fees. See ECF No. 232. The sole issue now before the Court is whether a plaintiff who

  won a preliminary injunction that was not reversed or otherwise modified, but whose case was

  later dismissed as moot, is a “prevailing party” who may be entitled to attorneys’ fees under 42

  U.S.C. § 1988. See ECF No. 232. For the reasons stated below, I conclude that a plaintiff is not a

  “prevailing party” under such circumstances. Smyth ex rel. Smyth v. Rivero, 282 F.3d 268 (4th

  Cir. 2002). Accordingly, I respectfully recommend that the presiding District Judge deny

  Plaintiffs’ petition for attorneys’ fees.

                                              I. Background

          Plaintiffs filed this civil action in 2016, challenging the constitutionality of Virginia Code

  § 46.2-395. See Compl. ¶¶ 1–6, ECF No. 1 (July 6, 2016). At the time, § 46.2-395 required

  automatic suspension of a person’s driver’s license whenever the person, having been convicted

  of a crime, failed to “pay all lawful fines, court costs, forfeitures, restitution, and penalties

                                                      1
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 2 of 28 Pageid#: 7653




  assessed against him” for that conviction. See Va. Code § 46.2-395(A)–(B) (eff. July 1, 2016 to

  June 30, 2017); accord id. § 46.2-395(A)–(B) (eff. July 1, 2017 to June 30, 2020) (repealed July

  1, 2020). Pursuant to that requirement, Plaintiffs’ drivers’ licenses were automatically suspended

  even though they were “unable, not unwilling, to pay their court debt.” Pls.’ Br. 2, ECF No. 235.

  This trapped Plaintiffs and “hundreds of thousands of Virginians” like them “in a vicious cycle

  of debt, unemployment, and incarceration.” Am. Compl. ¶¶ 4, 6, ECF No. 84 (Sept. 11, 2018).

  Without money to pay their court debts, Plaintiffs’ drivers’ licenses were suspended. Id. ¶ 1. But

  without licenses, Plaintiffs were then unable to drive anywhere, including to work, without

  risking criminal penalties. Thus, they could not maintain steady employment, earn money to pay

  back their court debt, and have their licenses reinstated. Id. ¶ 2. Plaintiffs alleged that this

  automatic suspension—without sufficient notice or hearing—violated their Fourteenth

  Amendment right not to be deprived of a protected interest without due process of law. Id. ¶ 5.

                                          II. Procedural History

          In September 2018, Plaintiffs moved for a preliminary injunction. Mot. Prelim. Inj., ECF

  No. 88. Arguing that automatic license suspension impacted, at the time, “[n]early a million

  Virginians,” Pls.’ Mem. in Supp. Mot. Prelim. Inj. 1, ECF No. 90, forcing Plaintiffs and others

  similarly situated to confront “the impossible choice of driving illegally to meet their basic

  needs, or failing to provide for themselves and their families,” id. at 2, Plaintiffs asked the Court

  to: (1) enjoin future enforcement of § 46.2-395, (2) remove any current suspensions of Plaintiffs’

  drivers’ licenses imposed under § 46.2-395, and (3) enjoin Defendant from imposing any fees to

  reinstate Plaintiffs’ licenses if there were no other restrictions on their licenses, id.

          Senior United States District Judge Norman K. Moon, presiding, granted the preliminary

  injunction in December 2018. See Stinnie v. Holcomb, 355 F. Supp. 3d 514 (W.D. Va. 2018).



                                                      2
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 3 of 28 Pageid#: 7654




  Applying the four-part standard articulated in Winter v. Natural Resources Defense Council, Inc.,

  555 U.S. 7 (2008), Judge Moon considered whether Plaintiffs had shown (1) that they were

  likely to succeed on the merits, (2) that they were likely to suffer irreparable harm in the absence

  of preliminary injunctive relief, (3) that the balance of equities tipped in their favor, and (4) that

  an injunction was in the public interest. Stinnie, 355 F. Supp. 3d at 527 (citing Winter, 555 U.S.

  at 20).

            Judge Moon first analyzed, in detail, Plaintiffs’ likelihood of success on the merits of

  their procedural due process claim. See generally id. at 527–31. To meet this burden, he

  explained, Plaintiffs had to demonstrate that they were “likely to show (1) they ha[d] been

  deprived of life, liberty or property, and (2) that such deprivation occurred without the due

  process of law.” Id. at 528 (citing Mathews v. Eldridge, 424 U.S. 319, 332 (1976)). Plaintiffs

  established Mathews’s first prong, Judge Moon found, because Fourth Circuit precedent clearly

  held “[a] ‘driver’s license is a property interest protected by the Fourteenth Amendment[.]’” Id.

  (quoting Scott v. Williams, 924 F.2d 56, 58 (4th Cir. 1991)). Thus, “once issued, a driver’s

  license may not be taken away without affording a licensee procedural due process” appropriate

  to the circumstances. Id. (quoting Scott, 924 F.2d at 58).

            Plaintiffs also established Mathews’s second prong. Procedural due process requires (1)

  “fair notice of [the] impending” deprivation and (2) an adequate opportunity to be heard. Id.

  (citing Snider Int’l Corp. v. Town of Forest Heights, Md., 739 F.3d 140, 146 (4th Cir. 2014)).

  “Notice and hearing are two distinct features of due process, and thus governed by different

  standards.” Id. (citing Snider Int’l Corp., 739 F.3d at 146). Notice must be “reasonably

  calculated, under all the circumstances, to apprise interested parties” of the impending

  deprivation “and afford them an opportunity to present their objections.” Id. at 529 (emphasis



                                                     3
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 4 of 28 Pageid#: 7655




  omitted) (quoting Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950)).

  Determining “the adequacy of the opportunity to be heard,” id., requires the court to balance

  “three factors: (1) the private interest involved; (2) the risk of erroneous deprivation through the

  procedures used; and (3) the government’s interest,” including the fiscal and administrative

  burdens that providing additional or substitute procedural safeguards would impose, see id. at

  530 (citing Mathews, 434 U.S. at 335).

         Based on the evidence before him, Judge Moon concluded that Plaintiffs had shown they

  “may” be able to prove that § 46.2-395’s pre-deprivation notice provisions were inadequate. Id.

  at 529. Section 46.2-395(C) did “provide[] that written notice regarding license suspension upon

  failure to pay court costs ‘shall be provided to the person at the time of trial or shall be mailed by

  first-class mail’ to the person’s current mailing address.” Id. at 528 (quoting Va. Code § 46.2-

  395(C)). But Judge Moon expressed doubt that this notice was sufficient to satisfy due process.

  Id. at 529. First, the notices were provided at the time of trial on unrelated criminal conduct,

  rather than at the time the licensee defaulted on payment of court costs imposed after conviction

  and sentencing. Id. (explaining that “license suspension is merely a possibility at the time notice

  is given” to a criminal defendant and that the actual suspension “may occur many years after the

  state court’s assessment of fines and costs” on an underlying conviction). “This temporal

  disconnect ma[de] it at least questionable whether the means of notice employed here [were]

  more than a ‘mere gesture.’” Id. (quoting Mullane, 339 U.S. at 314). Moreover, the notices

  provided no avenue for objecting to the suspension of one’s driver’s license. Id. (citing Mullane,

  339 U.S. at 314).

         But “[e]ven if the notice provided here was more than a mere gesture,” id., Judge Moon

  determined that Plaintiffs were likely to succeed on their procedural due process claim because §



                                                    4
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 5 of 28 Pageid#: 7656




  46.2-395 did not provide licensees a “meaningful” opportunity to be heard in a manner

  “sufficient to protect against the erroneous deprivation of the property interest involved,” see id.

  (“The fundamental requirement of due process is the opportunity to be heard at a meaningful

  time and in a meaningful manner.” (quoting Mathews, 424 U.S. at 333)). Indeed, Judge Moon

  found that Plaintiffs were “likely to show § 46.2-395 [did] not provide any hearing, much less

  one that satisfies due process.” Id.; see also id. at 530 (“[Section] 46.2-395, on its face, provides

  no procedural hearing at all.”). Defendant urged the Court to find otherwise, arguing that

  licensees had three chances to be heard: “[f]irst, at the time of sentencing or through a petition

  contesting the assessment of court costs; second, upon an appeal of defendant’s criminal

  conviction; and finally, through the statutory mechanism that allows the sentencing court to

  reduce or forgive court debt.” Id. at 530 (internal quotation marks omitted). None of these

  options, Judge Moon concluded, provided a meaningful opportunity for hearing on the license

  suspension issue. Id. The first two were available only at the time of sentencing on an underlying

  criminal conviction “when the licensee may, in good faith, believe he has the ability to pay.” Id.

  And although the third permitted a licensee to petition the sentencing court for a reduction or

  waiver of his court debt, it did not provide “an opportunity to be heard on the fact of license

  suspension” or an opportunity to seek a waiver of the Department of Motor Vehicles’ $145

  license reinstatement fee. Id. (citing Va. Code § 19.2-354.1). Thus, Judge Moon concluded that

  the available procedures did not provide licensees an opportunity to contest “their alleged default

  and later suspension.” Id. at 530–31. Accordingly, Plaintiffs were likely to show that Mathews’s

  second prong weighed in their favor. Id. at 531.

         Concluding his detailed assessment of Plaintiffs’ likelihood of success on the merits,

  Judge Moon balanced the government’s interest in enforcing payment of court fines and costs



                                                     5
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 6 of 28 Pageid#: 7657




  with the private interest in retaining one’s driver’s license, and he found that this part of the

  Mathews balancing test also weighed in Plaintiffs’ favor. Id. at 531. While the Commonwealth

  had an interest in the payment of court fines, the threat of license suspension would not

  incentivize payment by those who “simply cannot afford to pay.” Id.; see also id. at 532. In fact,

  the suspension of licenses only further hindered individuals’ ability to pay their court debt by

  leaving them unable to “gain and maintain employment.” Id. at 531. Thus, Judge Moon

  determined “Plaintiffs demonstrate[d] a likelihood of success on their claim that § 46.2-395

  violates procedural due process.” Id.

         Finally, Judge Moon considered the three remaining preliminary injunction factors. Id. at

  532; see Winter, 555 U.S. at 20. Plaintiffs satisfied the second Winter factor, showing that

  without preliminary injunctive relief, they were likely to suffer irreparable harm. Stinnie, 355 F.

  Supp. 3d at 532. “[W]here Plaintiffs’ constitutional rights are being violated, there is a

  presumption of irreparable harm.” Id. (citing Davis v. Dist. of Columbia, 158 F.3d 1342, 1343

  (D.C. Cir. 1998)). This harm, Judge Moon determined, could be remedied only through “the

  restoration of their licenses and the prevention of further suspensions under § 46.2-395.” Id.

  (“Money alone would not alleviate Plaintiffs’ harms or release Plaintiffs from the cycle of

  hardships caused by § 46.2-395.”). Similarly, the third and fourth Winter factors—the balancing

  of the equities and the public interest—weighed in Plaintiffs’ favor. Id. Judge Moon explained

  that “Fourth Circuit precedent ‘counsels that a state is in no way harmed by issuance of a

  preliminary injunction which prevents the state from enforcing restrictions likely to be found

  unconstitutional. If anything, the system is improved by such an injunction.’” Id. (quoting Centro

  Tepeyac v. Montgomery Cty., 722 F.3d 184, 191 (4th Cir. 2013) (other quotation marks

  omitted)).



                                                    6
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 7 of 28 Pageid#: 7658




         Accordingly, Judge Moon granted the preliminary injunction. Id. at 532–33. His order (1)

  enjoined Defendant from enforcing § 46.2-395 against Plaintiffs, (2) directed Defendant to

  remove any suspensions of Plaintiffs’ drivers’ licenses imposed under § 46.2-395, and (3)

  enjoined Defendant from charging a fee to reinstate Plaintiffs’ drivers’ licenses if there were no

  other restrictions on their licenses. See Order of Dec. 21, 2018, ECF No. 127. The preliminary

  injunction applied only to the named Plaintiffs in this action. Id. at 1 n.1. Although Plaintiffs had

  filed for class certification, id. (citing Pls.’ Mot. to Certify Class, ECF No. 85), the Court had not

  yet ruled on their motion and thus limited the preliminary injunction to the named Plaintiffs, id.

  Defendant did not appeal the preliminary injunction order. Pls.’ Reply 16, ECF No. 238.

         Shortly thereafter, Virginia Governor Ralph Northam proposed a budget amendment to

  suspend enforcement of § 46.2-395. Pls.’ Br. 7 (citing Governor Northam Announces Budget

  Amendment to Eliminate Driver’s License Suspensions for Nonpayment of Court Fines and

  Costs, Office of the Governor (Mar. 26, 2019), http://bit.ly/GovNorthamBudget). The

  amendment passed, and § 46.2-395’s enforcement was suspended from July 1, 2019, through

  June 30, 2020. Id. Anticipating the possibility of further legislative changes, the Court stayed this

  case pending the Virginia General Assembly’s 2020 legislative session. See Mem. Op. 8, ECF

  No. 214; Order of June 28, 2019, ECF No. 215. Subsequently, the Virginia General Assembly

  repealed § 46.2-395. Pls.’ Br. 9 (citing 2020 Session SB1ER, Va. LIS, http://lis.virginia.gov/cgi-

  bin/legp604.exe?201+ful+SB1ER+pdf, at lines 1244–45). As of July 1, 2020, Virginia drivers’

  licenses could no longer be automatically suspended for mere failure to pay court fees, and the

  Department of Motor Vehicles was directed to reinstate, without cost, all drivers’ licenses

  suspended solely for failure to pay court fees. Id. Shortly thereafter, the Court adopted the

  parties’ joint stipulation of dismissal and dismissed this action as moot. See Order of May 7,



                                                    7
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 8 of 28 Pageid#: 7659




  2020, ECF No. 232. The Court retained jurisdiction to determine whether Plaintiffs were entitled

  to attorneys’ fees and, if so, in what amount. See id.

                                       III. The Legal Framework

         By default, civil litigants bear their own attorneys’ fees. Peter v. Nantkwest, Inc., 140 S.

  Ct. 365, 370–71 (2019). “[T]he prevailing litigant is ordinarily not entitled to collect a reasonable

  attorneys’ fee from the loser.” Alyeska Pipeline Serv. Co. v. Wilderness Soc’y, 421 U.S. 240, 247

  (1975). Known as the “American Rule,” this presumption against fee-shifting makes winners and

  losers responsible for funding their own legal representation. Id. Departures from the rule are

  permitted only when fee-shifting is authorized by a “specific and explicit” statutory provision.

  Baker Botts L.L.P. v. ASARCO LLC, 576 U.S. 121, 126 (2015); see also Shammas v. Focarino,

  784 F.3d 219, 223 (4th Cir. 2015) (“[W]here the American Rule applies, Congress may displace

  it only by expressing its intent to do so ‘clearly and directly.’”) (quoting In re Crescent City

  Estates, LLC, 588 F.3d 822, 825 (4th Cir. 2009)).

         The Civil Rights Attorney’s Fees Awards Act of 1976, 42 U.S.C. § 1988, provides one

  such exception. Pursuant to § 1988, district courts may award “a reasonable attorney’s fee” to the

  “prevailing party,” other than the United States, in certain civil rights actions, 42 U.S.C. §

  1988(b). Enacted to ensure “‘effective access to the judicial process’ for persons with civil rights

  grievances,” Hensley v. Eckerhart, 461 U.S. 424, 429 (1983) (quoting H.R. Rep. No. 94-1558, at

  1 (1976)), § 1988 provides compensation to “civil rights attorneys who bring civil rights cases

  and win them,” Brandon v. Guilford Cty. Bd. of Elections, 921 F.3d 194, 196 (4th Cir. 2019).

  Thus, under § 1988, the prevailing party “should ordinarily recover an attorney’s fee unless

  special circumstances would render such an award unjust.” Hensley, 461 U.S. at 430 (quoting S.

  Rep. No. 94-1011, at 4 (1976)).



                                                    8
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 9 of 28 Pageid#: 7660




          To be a “prevailing party,” 1 a party need not receive a full merits-based adjudication of

  its claim. It must, however, “receive at least some relief on the merits,” Hewitt v. Helms, 482

  U.S. 755, 760 (1987), that “materially alters the legal relationship between the parties by

  modifying the defendant’s behavior in a way that directly benefits the plaintiff.” Lefemine v.

  Wideman, 568 U.S. 1, 4 (2012) (per curiam) (quoting Farrar v. Hobby, 506 U.S. 103, 111–12

  (1992)). Thus, various types of limited, merits-based relief have been found to confer “prevailing

  party” status on a plaintiff. See, e.g., id. at 3–5 (permanent injunction); Rhodes v. Stewart, 488

  U.S. 1, 4 (1988) (declaratory judgment); Buckhannon, 532 U.S. at 604 (settlement agreement

  enforced by court-ordered consent decree). Importantly, the relief must be “marked by ‘judicial

  imprimatur.’” CRST Van Expedited, 136 S. Ct. at 1646 (quoting Buckhannon, 532 U.S. at 605).

  An enforceable court order provides the judicial imprimatur, Buckhannon, 532 U.S. at 604, but

  that alone is not sufficient to confer prevailing party status, see Smyth, 282 F.3d at 276 (noting

  that a preliminary injunction “is, like any court order, ‘enforceable’”). A defendant’s mere

  voluntary change in conduct that moots a case, by contrast, is not “marked by judicial

  imprimatur,” even when plaintiff’s lawsuit was the “catalyst” for the change. See Buckhannon,

  532 U.S. at 600, 605 (rejecting the so-called “catalyst theory,” whereby plaintiff argued it was

  the prevailing party because its lawsuit prompted defendant to voluntarily change its conduct,

  mooting the action before plaintiff obtained any merits-based relief).

                                               IV. Discussion

          Plaintiffs argue that they are entitled to attorneys’ fees under § 1988 because they are the

  “prevailing party” in this case. Plaintiffs’ case was dismissed as moot prior to a full adjudication

  1
    “The term ‘prevailing party,’ as used in § 1988(b) and other fee-shifting provisions, is a ‘legal term of
  art,’” Smyth, 282 F.3d at 474 (quoting Buckhannon Bd. & Care Home, Inc. v. W. Va. Dep’t of Health &
  Human Res., 532 U.S. 598, 603 (2001)), that has been interpreted in a “consistent manner” across statutes
  that do not otherwise define the term, see CRST Van Expedited, Inc. v. E.E.O.C., 136 S. Ct. 1642, 1646
  (2016).

                                                       9
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 10 of 28 Pageid#: 7661




   of their claims on the merits. See Order of May 7, 2020. But Plaintiffs argue that their success in

   obtaining a merits-based preliminary injunction in their favor qualifies them for prevailing party

   status. Pls.’ Br. 11–12. The preliminary injunction, they contend, materially altered their

   relationship with Defendant: “[b]efore the preliminary injunction, Plaintiffs were harmed by the

   unconstitutional application of § 46.2-395; after the preliminary injunction they could not be.”

   Pls.’ Reply 10. And, Plaintiffs note that the preliminary injunctive relief they obtained was not

   revoked or otherwise altered by this Court during the pendency of the litigation. Id. at 1.

          Plaintiffs’ position faces one major obstacle. The Fourth Circuit has held in a published

   panel decision that a preliminary injunction does not confer “prevailing party” status under §

   1988(b), because a court order granting such interim relief “is best understood as a prediction of

   a probable, but necessarily uncertain,” outcome based on a “necessarily abbreviated” inquiry into

   the merits of the plaintiff’s claim. Smyth, 282 F.3d at 276. Plaintiffs acknowledge this obstacle,

   but ask the Court to disregard Smyth’s holding. Pls.’ Br. 21; see Warfaa v. Ali, 811 F.3d 653, 661

   (4th Cir. 2016) (“One panel’s decision is binding, not only upon the district court, but also upon

   another panel of this court—unless and until it is reconsidered en banc.” (quotation marks

   omitted)); Francis v. Am. Tel. & Tel. Co., No. 2:92cv293, 1993 WL 741853, at *2 (M.D.N.C.

   Aug. 9, 1993) (“It goes without saying that any published decision of the Fourth Circuit Court of

   Appeals is binding upon this Court . . . unless or until the decision is reconsidered en banc or is

   overturned by the United States Supreme Court.”). Smyth, they contend, was decided almost

   twenty years ago using “a different, and since discarded, standard for granting a preliminary

   injunction.” Pl.’s Br. 21; see Smyth, 282 F.3d at 276–77 (“[I]n granting a preliminary injunction

   a court is guided not only by its assessment of the likely success of the plaintiff’s claims, but also

   by other considerations, notably a balancing of likely harms. . . . [A] high likelihood of harm to



                                                    10
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 11 of 28 Pageid#: 7662




   the plaintiff may reduce the extent to which that plaintiff must demonstrate a likelihood of

   success on the merits.”). Intervening Supreme Court precedent, they argue, has undermined

   Smyth’s rationale to such an extent that Smyth is no longer controlling here. Pl.’s Br. 12–15

   (citing Winter, 555 U.S. at 20–22; Lefemine, 568 U.S. at 2–5). Plaintiffs also point to one district

   court case that has accepted the same argument. See Pls.’ Br. 22 (citing Veasey v. Wilkins, 158 F.

   Supp. 3d 466, 470 (E.D.N.C. 2016)). In Veasey, the district court found that the facts of the case

   before it “strongly parallel[ed]” those addressed by the Supreme Court in Lefemine and noted

   that the preliminary injunction standard had changed since Smyth was decided. Veasey, 158 F.

   Supp. 3d at 469–70 (explaining that, under the Supreme Court’s decision in Winter, 555 U.S. 7, a

   plaintiff seeking a preliminary injunction now “must clearly demonstrate that he will likely

   succeeded on the merits, regardless of the harm he is likely to suffer absent an injunction”

   (cleaned up)). Accordingly, the district court concluded that the Fourth Circuit’s holding in

   Smyth was “untenable,” and found the plaintiff who secured a preliminary injunction before her

   case was dismissed as moot was a “prevailing party” under § 1988. Id. at 470. Plaintiffs argue

   that Veasey provided a “thoughtful, and correct, analysis of the state of the law in the [F]ourth

   [C]ircuit,” and urge this Court to follow the same approach in their case. Pls.’ Reply 8. They

   further contend that several decisions from other circuit courts of appeal support their position,

   Pls.’ Br. 15–21 (collecting cases), that the Fourth Circuit’s decision in Smyth “no longer holds

   any weight here[,]” id. at 21, and that the Fourth Circuit itself would no longer adhere to its prior

   holding if presented with this question, id. at 22.

          Defendant disagrees. He argues that Plaintiffs have not achieved prevailing party status

   because they obtained a “narrow preliminary injunction” that addressed only “one of their five

   claims” and did not provide all of the relief Plaintiffs sought. Def.’s Br. 1, ECF No. 237.



                                                     11
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 12 of 28 Pageid#: 7663




   Defendant notes that Plaintiffs sought declaratory judgment that § 46.2-395 was unconstitutional,

   class certification, a preliminary and permanent injunction against the statute’s enforcement as to

   all Virginia drivers with licenses suspended under § 46.2-395, and reinstatement of all of those

   drivers’ licenses without fee. Id. Instead, the Court ordered a “limited injunction” that applied

   only to the named Plaintiffs in this case and provided only a small portion of the relief sought. Id.

   Defendant also argues that Smyth remains binding Fourth Circuit precedent and therefore

   requires this Court to find that a preliminary injunction cannot confer prevailing party status. Id.

   at 1–2 (citing Smyth, 282 F.3d at 277 n.8). He adds that “sound policy reasons” support the result

   the Fourth Circuit reached in Smyth, id. at 2, and that Defendant ultimately would have won on

   the merits had the case not been dismissed as moot, id.

   A.     The Fourth Circuit’s decision in Smyth held that a preliminary injunction is not
          sufficiently merits-based to confer prevailing party status

          Smyth held that the grant of a preliminary injunction does not give rise to prevailing party

   status for an attorneys’ fees petition. 282 F.3d at 277 & n.9 (rejecting plaintiffs’ argument “that a

   preliminary injunction is in some cases a proper basis for prevailing party status”). There,

   plaintiff welfare recipients brought a civil rights action pursuant to 42 U.S.C. § 1983, “claiming

   that a new paternity identification policy for welfare applicants,” instituted by the Virginia

   Department of Social Services, violated federal law. Id. at 271. The district court entered a

   preliminary injunction preventing enforcement of the policy against the named plaintiffs. Id. at

   272. In so doing,

          the district court found that the balancing of likely harms in considering the
          plaintiffs’ motion for a preliminary injunction clearly favored the plaintiffs, that
          the denial of benefits for noncooperation because of a claimant’s inability to
          identify the father of her children contradicted the plain language of then-
          applicable federal regulations, and that plaintiffs were thus likely to succeed on
          the merits.



                                                    12
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 13 of 28 Pageid#: 7664




   Id. (footnote omitted). Before the plaintiffs obtained a final judgment on the merits, however, the

   Virginia Department of Social Services revised the policy at issue and the district court

   dismissed the plaintiffs’ claims as moot. Id. at 273. The district court subsequently awarded

   plaintiffs attorneys’ fees under 42 U.S.C. § 1988(b), 2 and the defendant appealed. Id. at 273–74.

           On appeal, the Fourth Circuit rejected the contention that a preliminary injunction is

   sufficient to confer prevailing party status. Id. at 274–77. The panel noted that the Supreme

   Court had recently decided Buckhannon, where it had rejected the “catalyst theory” and

   suggested that prevailing party status should not attend limited, non-merits-based relief. Id. at

   275–76 (citing Buckhannon, 532 U.S. at 604–05) (noting that the Buckhannon Court found “the

   catalyst theory problematic in part because” it could permit plaintiffs to obtain prevailing party

   status for merely withstanding a motion to dismiss for failure to state a claim before the

   defendant voluntary changes the challenged policy or action).

           A preliminary injunction, the Smyth Court concluded, was “closely analogous, for [fee-

   shifting] purposes, to the examples of judicial relief deemed insufficient in Buckhannon.” Id. at

   276. It reasoned that “[w]hile granting such an injunction does involve an inquiry into the merits

   of a party’s claim, . . . the merits inquiry . . . is necessarily abbreviated,” id. (citing Blackwelder

   Furniture Co. of Statesville v. Seilig Mfg. Co., 550 F.2d 189, 195 (4th Cir. 1977)), and is “guided

   not only by [the court’s] assessment of the likely success of the plaintiff’s claims, but also by

   other considerations, notably a balancing of likely harms,” id. (citing Safety-Kleen, Inc.




   2
     In Smyth, the parties “had come to an ‘agreement’ wherein the [Defendant] waived her right to seek
   repayment of certain [welfare] benefits from the plaintiffs in return for the plaintiffs’ agreement not to
   contest continuance of the hearing on [Defendant’s] motion for summary judgment.” Id. at 273. Although
   the agreement is not relevant here, it warrants noting that the district court’s decision to award attorneys’
   fees in Smyth was based both on the fact that the plaintiffs had obtained a preliminary injunction and on
   the fact that the parties had entered into a “partial settlement.” Id. at 273–74.

                                                        13
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 14 of 28 Pageid#: 7665




   (Pinewood) v. Wyche, 274 F.2d 846, 859 (4th Cir. 2001)). Under then-existing Fourth Circuit

   law, a court weighing these considerations

           should bear in mind that the factors must work in conjunction, and a high
           likelihood of harm to the plaintiff may reduce the extent to which that plaintiff
           must demonstrate a likelihood of success on the merits. A plaintiff’s burden to
           show a likelihood of success on the merits, in other words, varie[d] according to
           the harm the plaintiff would be likely to suffer absent an injunction.

   Id. (cleaned up). “While this frame-work may [have been] well suited to reconciling the

   practical, equitable, and legal concerns that face a court determining whether to grant a party

   interim relief” by a preliminary injunction, the Smyth Court concluded that “it render[ed] such

   relief an unhelpful guide to the legal determination of whether a party has prevailed” for

   purposes of awarding attorneys’ fees. Id.; see id. at n.8 (explaining that it was the “preliminary,

   incomplete examination of the merits involved and the incorporation (if not predominance) of

   equitable factors” under then-existing Fourth Circuit law that made the “preliminary injunction

   inquiry . . . [so] ill-suited to guide the prevailing party inquiry”).

           In reaching this conclusion, however, the panel relied on the now-outdated formulation of

   the preliminary injunction standard articulated in Blackwelder Furniture Co. of Statesville, Inc. v.

   Seilig Manufacturing Company, Inc., 550 F.2d 189, 195 (4th Cir. 1977). See infra Sec. IV.B.; see

   also Veasey, 158 F. Supp. 3d at 469–70 (citing Smyth, 282 F.3d at 276–77). Importantly, the

   Smyth Court recognized that the Blackwelder standard had been criticized as being inconsistent

   with Supreme Court precedent. Smyth, 282 F.3d at 277 n.8 (citing Safety-Kleen 274 F.3d at 868–

   70 (Luttig, J., concurring)). In Safety-Kleen, Judge Luttig issued a strong critique of Blackwelder.

   He explained, “[t]he Supreme Court has consistently applied the four-part test governing the

   decision on an injunction (the plaintiff’s likelihood of success on the merits, the harm to the

   plaintiff in the absence of the injunction, the harm to the defendant upon grant of the injunction,

   and public interest) without ever distinguishing among the four parts as to analytical order,
                                                      14
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 15 of 28 Pageid#: 7666




   priority, or weight.” Id. at 868. Judge Luttig went on to explain that hallmarks of the Blackwelder

   test—the interrelatedness of the factors and the primacy of the relative hardship evaluation—

   were unsupported by and inconsistent with Supreme Court law. Id. at 868–69. The Smyth Court

   acknowledged this critique, but it nonetheless adhered to the Blackwelder test in analyzing

   whether a preliminary injunction confers prevailing party status. Id. at 277 n.8.

          To evaluate a motion for preliminary injunction under Blackwelder, a district court must

   first “balance the ‘likelihood’ of irreparable harm to the plaintiff against the ‘likelihood’ of harm

   to the defendant.” Blackwelder, 550 F.2d at 195. If the “imbalance of hardship should appear in

   plaintiff’s favor,” id., the district court assesses the likelihood of success on the merits, which

   ordinarily will be satisfied if the plaintiff “raised questions going to the merits so serious,

   substantial, difficult and doubtful, as to make them fair ground for litigation and thus for more

   deliberate investigation,” id. (quoting Hamilton Watch Co. v. Benrus Watch Co., 206 F.2d 738,

   740, 743 (2d Cir. 1953)). And, under Blackwelder, a weak showing on one factor could be

   resolved by a strong showing on another factor. Id. (“The importance of probability of success

   increases as the probability of irreparable injury diminishes[.]”).

          The Smyth Court focused on the fact that the Blackwelder test worked like a sliding scale.

   It “d[id] involve an inquiry into the merits of a party’s claim.” Smyth, 282 F.3d at 276. But that

   inquiry was “necessarily abbreviated.” Id. The degree to which the Blackwelder test probed the

   merits of a plaintiff’s claim “depend[ed] on the circumstances.” Id. In some cases, “a plaintiff

   may . . . need only to establish that his case presents a ‘substantial question’ to obtain

   preliminary injunctive relief.” Id. In others, “[a]t the most,” a party “may have to demonstrate ‘a

   strong showing of likelihood of success or a substantial likelihood of success by clear and

   convincing evidence in order to obtain relief.” Id. (internal quotation marks omitted). And, the



                                                     15
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 16 of 28 Pageid#: 7667




   fact that Blackwelder permitted strength in one factor to make up for weakness in another further

   weakened the merits inquiry. Id. (“A plaintiff’s burden to show a likelihood of success on the

   merits, in other words, varies according to the harm the plaintiff would be likely to suffer absent

   an injunction.”). Overall, the inconsistent and abbreviated nature of the merits inquiry, the

   flexible “interplay” of the Blackwelder factors, and the “incorporation (if not the predominance)

   of equitable factors,” id. at 277 n.8, led the Fourth Circuit to conclude that a preliminary

   injunction award did not give rise to prevailing party status under § 1988, id. at 277; see also id.

   at 277 n.9 (creating a bright-line rule and rejecting plaintiffs’ argument that “some preliminary

   injunctions are sufficiently based on the merits to serve as a basis for an award of attorneys’

   fees” (emphasis added)).

   B.      The preliminary injunction standard in the Fourth Circuit has changed since Smyth was
           decided and now requires a more robust merits-based showing

           Six years after Smyth, the Supreme Court clearly articulated the current preliminary

   injunction standard. See Winter, 555 U.S. at 20. Under Winter, a party seeking a preliminary

   injunction must satisfy a four-part test, showing “[(1)] that he is likely to succeed on the merits,

   [(2)] that he is likely to suffer irreparable harm in the absence of preliminary relief, [(3)] that the

   balance of equities tips in his favor, and [(4)] that an injunction is in the public interest.” Id.

           Shortly thereafter, the Fourth Circuit recognized that its preliminary injunction standard

   under Blackwelder stood “in fatal tension” with the Supreme Court’s articulation of the standard

   in Winter. See The Real Truth About Obama, Inc. v. Fed. Election Comm’n, 575 F.3d 342, 345–

   47 (4th Cir. 2009), vacated on other grounds, , 559 U.S. 1089 (2010), and aff’d in relevant part,

   607 F.3d 355 (4th Cir. 2010) (per curiam). Notably, the Real Truth Court explained, “[t]he

   Winter requirement that the plaintiff clearly demonstrate that it will likely succeed on the merits

   is far stricter than the Blackwelder requirement that the plaintiff demonstrate only a grave or

                                                      16
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 17 of 28 Pageid#: 7668




   serious question for litigation.” Real Truth, 575 F.3d at 346–37. The Winter standard also

   required a clear showing of the plaintiff’s likelihood of irreparable harm, id. at 347, required

   consideration of the public interest, id., and, most importantly, did not permit a relative strength

   in one factor to make up for a relative deficiency in another, id. See Veasey, 158 F. Supp. 3d at

   469–70 (explaining that, under the Supreme Court’s decision in Winter, 555 U.S. 7, a plaintiff

   seeking a preliminary injunction now “must clearly demonstrate that he will likely succeeded on

   the merits, regardless of the harm he is likely to suffer absent an injunction” (cleaned up)).

   Rather, to obtain a preliminary injunction under Winter, a plaintiff had to clearly satisfy each of

   Winter’s four factors. Real Truth, 575 F.3d at 346–37. Given the differences between the two

   preliminary injunction standards, the Fourth Circuit formally abandoned the standard it had

   articulated in Blackwelder and embraced Winter’s four-part standard. Id.; see also Pashby v.

   Delia, 709 F.3d 307, 320–21 (4th Cir. 2013) (noting that the Fourth Circuit “recalibrated” its

   preliminary injunction test after Winter, rejecting the Blackwelder standard).

   C.      The Supreme Court has not yet squarely decided whether a merits-based preliminary
           injunction that is not reversed by any later court order confers prevailing party status

           The Supreme Court has not squarely decided the question that is now before this Court,

   but it has come close. First, the Supreme Court has held that a preliminary injunction that is later

   “reversed, dissolved, or otherwise undone by the final decision in the same case” does not give

   rise to prevailing party status under § 1988(b). See Sole v. Wyner, 551 U.S. 74, 83 (2007). “A

   plaintiff who achieves a transient victory at the threshold of an action can gain no award under

   that fee-shifting provision if, at the end of the litigation, her initial success is undone and she

   leaves the courthouse emptyhanded.” Id. at 78. The Sole Court declined, however, to express a

   view on whether a preliminary injunction that is not undone by subsequent order “may

   sometimes warrant an award of counsel fees.” Id. at 86. Second, the Supreme Court has held that

                                                     17
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 18 of 28 Pageid#: 7669




   a permanent injunction does warrant prevailing party status. See Lefemine, 568 U.S. at 3–5. In

   Lefemine, the plaintiff obtained a permanent injunction enjoining the police from preventing him

   from publicly displaying anti-abortion signs. Id. at 2–3. In finding that the plaintiff had achieved

   prevailing party status and was thus entitled to reasonable attorney’s fees under 42 U.S.C. §

   1988, the Court focused on whether the plaintiff had received “actual relief on the merits of his

   claim” that “materially alter[ed] the legal relationship between the parties.” Id. at 4. The Court

   determined that he had: Before the district court entered the permanent “injunction order[ing] the

   defendant officials to change their behavior,” id. at *2, “the police intended to stop [the plaintiff]

   from protesting with his signs; after the ruling, the police could not prevent him from

   demonstrating in that manner.” Id. at 5. The district court’s “ruling worked the requisite material

   alteration in the parties’ relationship.” Id.

           Lefemine suggests that the same result may attend a merits-based preliminary injunction.

   Cf. Winter, 555 U.S. at 32 (“The standard for a preliminary injunction is essentially the same as

   for a permanent injunction with the exception that the plaintiff must show a likelihood of success

   on the merits rather than actual success.”). The Court’s analysis appears to have turned only on

   whether the relief the plaintiff obtained was merits-based and materially altered the relationship

   of the parties “in a way that directly benefited the plaintiff.” Lefemine, 568 U.S. at 2; see also id.

   at 4–5. The Court did not discuss or emphasize the fact that the injunctive relief obtained was

   permanent, rather than preliminary. See id. Nonetheless, Lefemine was a brief per curiam

   opinion, and it made no explicit mention of or holding regarding preliminary injunctions.

   D.      Several other circuit courts of appeals have concluded that a merits-based preliminary
           injunction confers prevailing party status

           Plaintiffs argue that the Fourth Circuit’s decision in Smyth stands alone. They note that

   several other circuit courts of appeals have determined that a merits-based preliminary injunction

                                                     18
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 19 of 28 Pageid#: 7670




   may confer prevailing party status. See Pls.’ Br. 15–17. Defendant disagrees, noting that there

   are inconsistencies between the various circuits’ approaches and contending that Plaintiffs would

   not qualify as prevailing parties under every approach. Def.’s Br. 25–27.

           Each circuit has articulated a standard for determining whether a preliminary injunction

   may give rise to prevailing party status, and there is some minor variation between them. 3 But

   almost every circuit agrees that a merits-based preliminary injunction that is not undone or

   otherwise modified by a later court order may confer prevailing party status entitling the plaintiff

   to an award of attorneys’ fees. See Planned Parenthood Sw. Ohio Region v. Dewine, 931 F.3d

   530, 542 (6th Cir. 2019) (preliminary injunction conferred prevailing party status because it

   “materially changed the relationship between the parties . . . [and] turned at least in part on the

   district court’s assessment of the merits”), cert. denied sub nom., Yost v. Planned Parenthood

   Sw. Ohio Region, 141 S. Ct. 189 (2020); Doe v. Nixon, 716 F.3d 1041, 1048 (8th Cir. 2013) (to

   confer prevailing party status, a preliminary injunction must be accompanied by judicial relief

   that changes the legal relationship between the parties); Higher Taste, Inc. v. City of Tacoma,

   717 F.3d 712, 716 (9th Cir. 2013) (“Several circuits, including ours, have held that a preliminary

   injunction satisfies the judicial imprimatur requirement if it is based on a finding that the plaintiff

   has shown a likelihood of success on the merits.”); Stout, 653 F.3d at 1239 (to confer prevailing
   3
     Some circuits’ tests are more demanding than others. The Fifth Circuit’s approach, for example, dictates
   that a party who obtains a merits-based preliminary injunction achieves prevailing party status only if it
   can show that the preliminary injunction caused the defendant to moot the action. Dearmore v. City of
   Garland, 519 F.3d 517, 524–26 (5th Cir. 2008). Other circuits differentiate between merits-based and
   non-merits-based preliminary injunctions, finding the latter insufficient for prevailing party status. See,
   e.g., Dupuy v. Samuels, 423 F.3d 714, 722 (7th Cir. 2005) (finding prevailing party status unwarranted
   where it was not clear that the district court “had resolved any aspect of the case in a sufficiently
   ‘concrete and irreversible way’” and where district court “made it clear that there was still work to be
   done”); N. Cheyenne Tribe v. Jackson, 433 F.3d 1083, 1086–87 (8th Cir. 2006) (where preliminary
   injunction paused federal funding for a construction project, the injunction merely “preserved the status
   quo until [the court] could resolve” plaintiffs’ claims on the merits and thus did not materially alter the
   relationship between the parties); Kan. Jud. Watch v. Stout, 653 F.3d 1230, 1238 (10th Cir. 2011)
   (preliminary injunctions do not give rise to prevailing party status when granted “to preserve the status
   quo because the balance of equities favors the plaintiff”).

                                                       19
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 20 of 28 Pageid#: 7671




   party status, a preliminary injunction must “provide at least some relief on the merits,” meaning

   that it “(a) affords relief sought in the plaintiff’s complaint and (b) represents an unambiguous

   indication of probable success on the merits”); Common Cause/Ga. v. Billups, 554 F.3d 1340,

   1356 (11th Cir. 2009) (finding preliminary injunction conferred prevailing party status because it

   “materially altered” the relationship between the parties and remained in force until Georgia

   repealed the challenged statute); People Against Police Violence v. City of Pittsburgh, 520 F.3d

   226, 233 (3d Cir. 2008) (finding plaintiffs to be prevailing parties where they obtained enduring

   preliminary injunctive relief based on district court’s assessment of the merits that materially

   altered the legal relationship between the parties); 4 Dearmore, 519 F.3d at 524 (a preliminary

   injunction confers prevailing party status when it is “based upon an unambiguous indication of

   probable success on the merits . . . as opposed to a mere balancing of the equities” and it “causes

   the defendant to moot the action . . . prevent[ing] the plaintiff from obtaining final relief on the

   merits”); Dupuy, 423 F.3d at 723 n.4 (rejecting Smyth’s approach and noting that prevailing

   party status may attend a plaintiff who obtains a preliminary injunction that is not defeasible and

   the case is subsequently mooted); Select Milk Producers, Inc. v. Johanns, 400 F.3d 939, 948

   (D.C. Cir. 2005) (plaintiffs were the prevailing parties where preliminary injunction “provided

   concrete and irreversible judicial relief . . . based on the District Court’s conclusion that


   4
     Defendant argues that the Third Circuit’s decision in Singer Management Consultants, Inc. v. Milgram,
   650 F.3d 223, 229 (3d Cir. 2011) (en banc), more accurately reflects the Third Circuit’s approach. See
   Def.’s Br. 27 n.30. Indeed, Singer concluded that a district court’s determination of a party’s “likelihood
   of success on the merits” is not always sufficiently merits-based to give rise to prevailing party status. 650
   F.3d at 229 (“[T]he ‘merits’ requirement is difficult to meet in the context of TROs and preliminary
   injunctions, as the plaintiff in those instances needs only to show a likelihood of success on the merits
   (that is, a reasonable chance, or probability, of winning) to be granted relief. A ‘likelihood’ does not mean
   more likely than not.”). Thus, in Singer, a temporary restraining order did not confer prevailing party
   status where the district court recognized a “significant risk there may be substantial federal rights being
   impaired,” id. at 230 n.3, but did not find “that the challenged law (or application of the law) was
   unconstitutional,” id. at 230. Nonetheless, the Singer Court reaffirmed People Against Police Violence,
   reiterating that prevailing party status is appropriate when a district court makes a more robust merits-
   based determination. Id. at 229–30.

                                                        20
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 21 of 28 Pageid#: 7672




   [plaintiffs] were likely to prevail on the merits”); Haley v. Pataki, 106 F.3d 478, 483 (2d Cir.

   1997) (“When a party receives a stay or preliminary injunction but never obtains a final

   judgment, attorney’s fees are proper if the court’s action in granting the preliminary injunction is

   governed by its assessment of the merits.”).

          Some circuits have observed that the Fourth Circuit stands alone, noting that Smyth

   diverges from the popular consensus. See, e.g., Select Milk Producers, 400 F.3d at 946 (noting

   that Smyth’s interpretation of Buckhannon was inconsistent with other circuits’ approaches);

   Dupuy, 423 F.3d at 723 n.4 (noting its “respectful disagreement” with Smyth’s rationale); Davis

   v. Abbott, 781 F.3d 207, 217 n.10 (5th Cir. 2015) (noting that the Fourth Circuit was alone in

   “categorically” holding that preliminary injunctions do not confer preliminary party status);

   People Against Police Violence, 520 F.3d at 233 n.4 (identifying the Fourth Circuit as the only

   “arguably dissenting Court of Appeals”). But notably, none of the decisions discuss Smyth in

   detail or address the argument Plaintiffs make here—that Smyth has been materially undermined

   by later Supreme Court precedent.

          Plaintiffs urge this Court to rely on the broad consensus that has developed among the

   other circuits. But out-of-circuit precedent is not binding upon this court. United States v.

   Holmes, No. 3:10cr102, 2012 WL 2326003, at *3 (W.D.N.C. June 9, 2012) (noting that district

   courts within this circuit are not bound by “decisions of appellate courts outside the Fourth

   Circuit”). And although a broad consensus among other circuits could be “highly persuasive” in

   the absence of binding precedent, id., this Court is required to follow controlling Fourth Circuit

   law. Francis, 1993 WL 741853, at *2.

   E.     The preliminary injunction granted in this case constituted merits-based relief that
          materially altered the relationship between the parties




                                                    21
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 22 of 28 Pageid#: 7673




          First, Plaintiffs obtained a preliminary injunction that was thoroughly merits-based. See

   Hewitt, 482 U.S. at 760 (to achieve prevailing party status, a party must obtain “at least some

   relief on the merits”). Judge Moon’s evaluation of Plaintiffs’ likelihood of success was anything

   but “abbreviated.” Smyth, 282 F.3d at 276. He engaged in a thorough assessment of Virginia’s

   statutory license suspension scheme, outlined the elements Plaintiffs would need to prove to

   succeed on a procedural due process claim, and carefully evaluated whether Plaintiffs were likely

   able do so. See Stinnie generally, 355 F. Supp. 3d at 527–531. His conclusion was that § 46.2-

   395 almost certainly did not meet the requirements of procedural due process. Id. at 529–30.

   Section 46.2-395 did not appear to provide adequate notice of license suspension, and it

   undoubtedly did not provide for a hearing on that issue. Id. “[T]he procedures in place [were] not

   sufficient to protect against the erroneous deprivation of the property interest involved. Indeed, §

   46.2-395, on its face, provide[d] no procedural hearing at all.” Id.

          Second, the preliminary injunction was an enforceable court order, carrying all the

   necessary judicial imprimatur, Buckhannon, 532 U.S. at 604, that “materially alter[ed] the legal

   relationship between the parties by modifying the defendant’s behavior in a way that directly

   benefit[ed]” Plaintiffs, Lefemine, 568 U.S. at 4. The preliminary injunction did far more than

   merely “preserve the status quo” between the parties. Stout, 653 F.3d at 1238. It prevented

   Defendant from enforcing § 46.2-395 against Plaintiffs and provided affirmative relief by

   directing Defendant to reinstate their drivers’ licenses. Before it was entered, Plaintiffs’ licenses

   were suspended, causing significant hardships. See, e.g., Stinnie, 355 F. Supp. 3d at 532

   (“Plaintiff Johnson testified that she is unable to take her daughter to necessary medical

   appointments, or attend her son’s athletic events, causing stress for both her and her children. . . .

   Plaintiff Adams could not travel to and from work, her chemotherapy appointments, or her son’s



                                                    22
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 23 of 28 Pageid#: 7674




   medical specialist.”). After it was entered, Defendant was obliged to restore their licenses

   without fee. Thus, the preliminary injunction “release[d] Plaintiffs from the cycle of hardships

   caused by § 46.2-395” and provided tangible, meaningful relief. Id. The preliminary injunction

   was still in place when the parties stipulated that the case had become moot, Stipulation of

   Dismissal, ECF No. 231, and the Court dismissed the case, Order of May 7, 2020, ECF No. 232.

          Defendant downplays the significance of the relief Plaintiffs obtained. He urges that

   Judge Moon granted only a “narrow preliminary injunction” that gave Plaintiffs only a small

   portion of the relief they requested. Def.’s Br. 1. But this argument is misplaced. To achieve

   prevailing party status, a party need only obtain “at least some relief on the merits.” Hewitt, 482

   U.S. at 760 (emphasis added); see also Tex. State Teachers Ass’n v. Garland Indep. Sch. Dist.,

   489 U.S. 782, 791–92 (1989) (“If the plaintiff has succeeded on any significant issue in litigation

   which achieve[d] some of the benefit the parties sought in bringing suit, the plaintiff has crossed

   the threshold to a fee award of some kind.” (alteration in original) (internal quotation marks

   omitted)). Plaintiffs did that here. It is of no moment that they did not obtain all the relief they

   sought. When a prevailing party has achieved only partial success, the limited nature of the relief

   granted is accounted for not by denying a fee award altogether, but rather by adjusting the

   amount of fees awarded. Tex. State Teachers Ass’n, 489 U.S. at 789–90 (“[D]istrict courts should

   exercise their equitable discretion in such cases to arrive at a reasonable fee award, either by

   attempting to identify specific hours that should be eliminated or by simply reducing the award

   to account for the limited success of the plaintiff.”).

          Defendant also argues that Plaintiffs “likely would not have ultimately succeeded on the

   merits” had the case not been mooted by legislation repealing § 46.2-395. Def.’s Br. 29.

   Defendant contends, essentially, that a preliminary injunction should never confer prevailing



                                                     23
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 24 of 28 Pageid#: 7675




   party status because it could always be reversed by a later court order. Id. at 29–30 (citing

   Fowler v. Johnson, No. CV 17-11441, 2017 WL 6379676, at *12 (E.D. Mich. Dec. 14, 2017))

   (arguing that Fowler was factually-analogous to this case and that a preliminary injunction

   entered in that case was later reversed by the Sixth Circuit, demonstrating that the district court’s

   preliminary injunction award was error). I decline Defendant’s invitation to relitigate a closed

   case. A preliminary injunction that is later “reversed, dissolved, or otherwise undone by the final

   decision in the same case” does not give rise to prevailing party status. See Sole, 551 U.S. at 83.

   But Plaintiffs did not “leave[] the courthouse emptyhanded.” Id. at 78. Judge Moon’s merits-

   based preliminary injunction remained in effect, unaltered, until the case was dismissed as moot.

   Defendant could have appealed the preliminary injunction itself, and he declined to do so. Pls.’

   Reply 16.

   F.     Smyth is controlling and compels this Court to find that Plaintiffs have not achieved
          prevailing party status here

          Plaintiffs present a strong argument that the rationale supporting the Fourth Circuit’s

   decision in Smyth has been materially undermined by the Supreme Court’s later decisions in

   Winter and Lefemine and that they would be considered prevailing parties under several other

   circuits’ tests. Smyth focused heavily on the flexibility and indeterminacy of the Blackwelder

   preliminary injunction standard. Winter then changed that standard significantly. See Winter, 555

   U.S. at 20. As the Fourth Circuit has since recognized, “the Winter requirement that the plaintiff

   clearly demonstrate that it will likely succeed on the merits is far stricter than the Blackwelder

   requirement that the plaintiff demonstrate only a grave or serious question for litigation.” Real

   Truth, 575 F.3d at 346–47. Lefemine, moreover, seems to suggest that any injunction—

   preliminary or permanent—could confer prevailing party status if it is merits-based and works




                                                    24
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 25 of 28 Pageid#: 7676




   the requisite material alteration of the relationship between the parties in a way that benefits the

   plaintiff. See Lefemine, 568 U.S. at 3–5.

          Nonetheless, Smyth has not been explicitly overruled by either the Fourth Circuit or by

   the Supreme Court. Accordingly, it remains controlling law in this Circuit, and this Court is

   bound to follow it. “It is axiomatic that in our judicial hierarchy, the decisions of the circuit

   courts of appeals bind the district courts[.]” Doe v. Chao, 511 F.3d 461, 465 (4th Cir. 2007); see

   also 18 James Wm. Moore et al., Moore’s Fed. Practice § 134.02[2] (3d ed. 2020) (“[T]he

   district courts in a circuit owe obedience to a decision of the court of appeals in that circuit and

   ordinarily must follow it until the court of appeals overrules it.”). Even where, as here, circuit

   court precedent appears to have been materially undermined by later Supreme Court precedent, it

   is not the province of a district court to decide whether the circuit in which it sits should now

   revisit its prior holding. Cf. Rodriguez de Quijas v. Shearson/American Express, Inc., 490 U.S.

   477, 484 (1988) (“If a precedent of this Court has direct application in a case, yet appears to rest

   on reasons rejected in some other line of decisions, the Court of Appeals should follow the case

   which directly controls, leaving to this Court the prerogative of overruling its own decisions.”);

   United States v. Umana, 762 F.3d 413, 414 (4th Cir. 2014) (Wilkinson, J., concurring in denial

   of reh’g en banc) (explaining that even where the “‘tea leaves’ for overruling” are clear, “the

   practice of circuit courts trying to anticipate, based on ‘trends,’ what the Supreme Court would

   do” is disfavored).

          The Fourth Circuit has long held that even its own three-judge panels are bound by

   published decisions of earlier three-judge panels. “A decision of a panel of this court becomes

   the law of the circuit and is binding on other panels unless it is overruled by a subsequent en

   banc opinion of this court or a superseding contrary decision of the Supreme Court.” United



                                                     25
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 26 of 28 Pageid#: 7677




   States v. Dodge, 963 F.3d 379, 383 (4th Cir. 2020). In Dodge, the Fourth Circuit determined that

   a prior panel decision was “in tension with intervening Supreme Court reasoning.” Id. at 384.

   Nonetheless, because “no directly applicable Supreme Court holding” had yet overruled the prior

   panel decision, the Dodge Court was bound by it. Id. Moreover, even where Supreme Court

   precedent reverses one portion of a Fourth Circuit decision, future Fourth Circuit panels must

   continue to adhere to the portion that remains good law. Taylor v. Grubbs, 930 F.3d 611, 619

   (4th Cir. 2019) (explaining that although the Supreme Court “rejected a portion of [its] analysis”

   from a prior panel decision, “much of [the prior panel’s] reasoning was left untouched” and thus

   remained binding).

            In some instances, Fourth Circuit panels have departed from prior circuit precedent that

   had been undermined by later Supreme Court precedent. See Faust v. S.C. State Highway Dep’t,

   721 F.2d 934, 940 (4th Cir. 1983) (declining to follow prior Fourth Circuit precedent because it

   interpreted a Supreme Court decision in a way that “later Supreme Court decisions have shown

   is untenable”); United States v. Williams, 155 F.3d 418, 421 (4th Cir. 1998) (concluding that the

   panel was “not bound” by a prior Fourth Circuit decision because “its holding [was] clearly

   undermined” by more recent Supreme Court precedent). Relying on Faust, Plaintiffs urge that

   “neither this Court nor any [F]ourth [C]ircuit panel is required to follow Smyth.” Pls.’ Reply 4.

   Not so. Faust does not hold, or even suggest, that district courts may depart from circuit

   precedent that has not been explicitly overruled by either the Fourth Circuit or the Supreme

   Court.

            Thus, even if a Fourth Circuit panel may depart from prior precedent under narrow

   circumstances, district courts have no authority to do the same. Although the district court did so

   in Veasey, 158 F. Supp. 3d at 469–70, accepting the rationale Plaintiffs advance here, the district



                                                    26
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 27 of 28 Pageid#: 7678




   court cited no authority permitting it to do so, id. Other courts in similar situations have

   determined that they are constrained by circuit precedent that had not been explicitly overruled.

   See, e.g., United States v. Brown, 74 F. Supp. 2d 648, 652 (N.D. W.Va. 1998) (“[A] district court

   is bound by the precedent set by its Circuit Court of Appeals, until such precedent is overruled

   by the appellate court or the United States Supreme Court.”); Fisher-Borne v. Smith, 14 F. Supp.

   3d 695, 697–98 (M.D.N.C. 2014) (refusing to entertain plaintiff’s argument that Fourth Circuit

   decision was wrongly decided and should not be followed). The hierarchy of the federal courts

   encourages “[c]oherent and consistent adjudication” and demands respect for higher court

   decisions. Condon v. Haley, 21 F. Supp. 3d 572, 587 (D.S.C. 2014) (“[L]ower federal courts are

   not free to disregard clear holdings of the circuit courts of appeal simply because a party believes

   them poorly reasoned or inappropriately inattentive to alternative legal arguments.”).

          In line with these cases, I conclude that this Court is bound to follow Smyth. Plaintiffs

   have advanced a thoughtful and compelling argument urging the Court to find otherwise. But

   given the Fourth Circuit’s holding in Smyth, which has not been overruled by either the Fourth

   Circuit or the Supreme Court, I conclude that Plaintiffs have not achieved prevailing party status

   entitling them to attorneys’ fees under 42 U.S.C. § 1988.

                                              V. Conclusion

          For the foregoing reasons, I respectfully recommend that the presiding District Judge

   DENY Plaintiffs’ Petition for Attorneys’ Fees and Litigation Expenses, ECF No. 234.

                                                Notice to Parties

          Notice is hereby given to the parties of the provisions of 28 U.S.C. § 636(b)(1)(C):

          Within fourteen days after being served with a copy [of this Report and
          Recommendation], any party may serve and file written objections to such
          proposed findings and recommendations as provided by rules of court. A judge of
          the court shall make a de novo determination of those portions of the report or

                                                    27
Case 3:16-cv-00044-NKM-JCH Document 243 Filed 02/16/21 Page 28 of 28 Pageid#: 7679




          specified proposed findings or recommendations to which objection is made. A
          judge of the court may accept, reject, or modify, in whole or in part, the findings
          or recommendations made by the magistrate judge. The judge may also receive
          further evidence or recommit the matter to the magistrate judge with instructions.

          Failure to file timely written objections to these proposed findings and recommendations

   within 14 days could waive appellate review. At the conclusion of the 14 day period, the Clerk is

   directed to transmit the record in this matter to the presiding District Judge.

          The Clerk shall send certified copies of this Report and Recommendation to all counsel

   of record.

                                                          ENTER: February 16, 2021




                                                          Joel C. Hoppe
                                                          United States Magistrate Judge




                                                    28
